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              USE OF FORCE ANNUAL REPORT




                                   Use of Force
                                   Annual Report
                                  January 10, 2020




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                                        OVERVIEW

What is in this report?
This report provides a quantitative and qualitative discussion of use of force incidents involving
Seattle Police Officers occurring between January 1 and December 31, 2019.

Utilizing the advanced analytical capability available through the Data Analytics Platform (DAP),
Section I of this report presents aggregate statistics regarding use of force events and
applications, filtered across assignment, subject demographics, call types, and other discrete
measures. Key among the findings, consistent with prior years’ reports, was that the use of force
overall remains extraordinarily infrequent: in 2019 officers reported using force, of any level, at
a rate of less than one-fifth of one percent (0.15%) of all officer dispatches, and fewer than one-
fifth of one percent (0.17%) of unique events – and of these uses of force, as in prior years, the
majority (77%) involved no greater than the lowest level of reportable force (such as minor
complaints of transient pain with no objective signs of injury, or the pointing of a firearm).
Further, the use of serious levels of force – force that causes or may be reasonably expected to
cause substantial bodily injury – remained extraordinarily low, occurring only 20 times out of
over 850,000 officer dispatches (0.0023% - or less than one quarter of one hundredth of a
percent).
In short, while each application of force is separately investigated and reviewed, overall the use
of force by Seattle police officers continues to be an empirically rare occurrence. This finding
shows that that officers continue to implement, in practice, the de-escalation training and tactics
that have brought Seattle into full and effective compliance with the Consent Decree between
the City of Seattle and the United States Department of Justice (DOJ), while maintaining a high
level of engaged, proactive law enforcement activity.
Section II provides an overview of the Force Investigation Team (FIT) – a specialized unit
comprised of experienced detectives, sergeants, and commanders that responds to and
investigates all serious force incidents – and briefly describes each of the 23 separate events to
which FIT responded during 2019. The Seattle Police Department (SPD, or the Department) also
reports in this Section on case assessments by the Force Review Unit (FRU) and the Force Review
Board (FRB) during 2019, which provide an additional layer of review with respect to officer use
of force and chain of command review of force, ensuring that force applied by Seattle police
officers is consistent with the mandates of Department policy. Additionally, as a forum for
reviewing policies, training, tactics and equipment, the FRB provides the opportunity for
experience and review to continually drive improvements to Department operations and
practices. These processes help to ensure that the department is policing the community it
serves effectively and constitutionally through self-regulation.
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What if this report doesn’t answer my questions?
The Department continues to release its use of force data described in Section I of this report to
the City’s open data portal and maintains updated interactive dashboards through which the
public can explore for itself officers’ use of force, parsed across demographic and geographic
fields.1 The Department cautions of the inherent hazard that data can be subject to differing
interpretations and lead to differing conclusions depending on the sophistication of the analysis
and the potential for confirmation bias; SPD provides this data with the hope that, as new
technology has created opportunity for increasingly sophisticated inquiries internally, providing
greater transparency of its data externally creates greater opportunity for SPD and the
community to work collaboratively to drive the policies and priorities of this department.



                                   SECTION I: USE OF FORCE

           A. Policies and Overview of Force

The Seattle Police Department’s use of force policies are published, collectively, as Title 8 of the
SPD Manual. Policy sections 8.000 through 8.200 set forth the conditions under which force is
authorized, when force is prohibited, and affirmative obligations to de-escalate prior to using
force, when reasonably safe and feasible to do so, and to assess and modulate force as resistance
changes. While recognizing that officers are often forced to make split second decisions, in
circumstances that are tense, uncertain, and rapidly evolving, this policy allows officers to use
only the force that is objectively reasonable, necessary, and proportionate to effectively bring an
incident or a person under control. Section 8.300 addresses the use and deployment of force
tools that are authorized by the Department, such as less-lethal munitions, canine deployment,
firearms, oleoresin capsicum (OC) spray, and vehicle-related force tactics. Section 8.400
prescribes protocols for the reporting and investigation of force; section 8.500 sets forth the
process for review of force.

Force is classified and reviewed by type:

De Minimis Force - Physical interaction meant to separate, guide, and/or control without the use
of control techniques that are intended to or are reasonably likely to cause any pain or injury.
Examples including using hands or equipment to stop, push back, separate or escort, the use of
compliance holds without sufficient force to cause pain, and unresisted handcuffing. Officers are
not required to report or investigate this level of force.


1
    This data may be found at http://www.seattle.gov/police/information-and-data/use-of-force-data



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Type I – Actions which “causes transitory pain, the complaint of transitory pain, disorientation,
or intentionally pointing a firearm.” This is the most frequently reported level of force. Examples
of Type I force, generally used to control a person who is resisting an officer’s lawful commands,
controlled placements, strike with sufficient force to cause pain or complaint of pain, or an open
hand technique with sufficient force to cause complaint of pain. Type I uses of force are screened
by a sergeant and reviewed by the Chain of Command; the Force Review Unit (FRU) provides
quality assurance.

Type II – Force that causes or is reasonably expected to cause physical injury greater than
transitory pain but less than great or substantial bodily harm. Examples include take-downs with
injury and/or the use of any of the following weapons or instruments: conducted electrical
weapons (Tasers), OC spray, impact weapon, deployment of K-9 with injury or complaint of injury
causing less than Type III injury, and vehicles. An on-scene (where feasible) sergeant collects
available video evidence and witness statements; the evidence packet and analysis of the force
is reviewed by the Chain of Command and the FRU. Cases flagged by the FRU for further inquiry,
in accordance with policy criteria, plus an additional random 10% of Type II cases are also
analyzed by the Force Review Board (FRB).

Type III – Force that causes or is reasonably expected to cause great bodily harm, substantial
bodily harm, loss of consciousness, or death, and/or the use of neck and carotid holds, stop sticks
for motorcycles, and impact weapon strikes to the head. Type III force is screened on-scene by
a sergeant, investigated by the Force Investigation Team (FIT), and analyzed by the FRB.


         B. Quantitative Overview of Use Force
The Seattle Police Department documents three types of force. 2 Most broadly, use of force at
the incident level (generally but not always associated with a specific computer-aided dispatch
(CAD) event) may involve multiple officers and/or multiple subjects, each of whom may be
documented as either involved in or witness to the use of force. At the individual officer level,
force is documented and recorded as the combination of a force incident, a unique officer, and
a unique subject; accordingly, depending on how many officers used force during an incident, a
single use of force incident may be associated with multiple uses of force reports. The most
granular level of documentation occurs at the use of force application level, at which the involved
officer documents each reportable application of force; a single use of force may thus include
multiple applications of force. For example, if in the course of one incident, Officer A pointed a
firearm, Officers B and C used a hard-takedown maneuver to bring a subject under control,
following which Officer A handcuffed the subject, who then complained of pain to his shoulder,

2
 Throughout this section, the figures and tables refer to “levels” of force. Levels of force are the equivalent of type of
use of force. For instance, Level I is a Type I use of force; Level II is a Type II Use of Force.
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the incident would be documented as one incident, involving three uses of force, comprising four
applications of force, two of which (the pointing of a firearm and subsequent shoulder pain by
Officer A) would be classified as Type I, and two of which (the hard take-down by Officers B and
C) would be classified as Type II. Because force is reviewed at the type commensurate with the
highest type of force used, the incident would be reviewed as a Type II incident. For purposes of
this report, force is discussed at the officer report level – i.e., the combination of a unique officer,
unique subject, and unique incident, and reported at the highest level of force used by a given
officer.
Between January 1 and December 31, 2019, officers were dispatched (either responsive to a 911
call for service or an on-viewed incident) 850,910 times in response to 396,755 unique CAD
events.3 While the count of unique events received by the 911 Communication Center increased
by 2.4% in 2019 compared to 2018, officer dispatches increased by 7.0%. (Dispatch counts reflect
the number of officers responding to a unique event, as captured in the Department’s Computer
Aided Dispatch (CAD) data.)
Over this same time period, officers reported using force (Type I, II, or III) 1,264 times over 675
unique incidents.
Viewed in the context of overall activity, less than one-fifth of one percent (0.15%) of all officer
dispatches, and fewer than one-fifth of one percent (0.17%) of unique events, resulted in any
reportable use of force.




3
  CAD (Computer Aided Dispatch) is the Department’s database for recording communications, including the date,
time, and location of a police incident, how the case was received (911 or “on-view”—an officer viewing activity and
initiating a contact with an individual), the case type, and the disposition.




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               1. Use of Force by Level of Force
Figure 1: Force Counts 2019

                                                          Figure 1 shows the breakdown of use
                                                          of force, by type, over the calendar
                                                          year reported. Of the 1,264 uses of
                                                          force reported during 2019, 973
                                                          (77.0%) involved no greater than low-
                                                          level, Type I force. As shown in Table 1,
                                                          overall use of force across all force
                                                          types has declined by nearly half
                                                          (down 44.0% as compared with 2018).
                                                          The number of reported Type I uses of
                                                          force decreased 47.8%.4 Type II and
                                                          Type III uses of force also declined as
                                                          compared with 2018. Officer involved
shootings increased in 2019 as compared with 2018; however, as reflected in Table 1, the number
of officer involved shootings in 2018 was exceptionally low when compared with other years.

The decrease in reported Type I force is due in large part to the court-approved changes to SPD’s
use of force polices. Officers no longer report handcuff discomfort as Type I force. These policies
went into effect in January 2019. While handcuffing discomfort is no longer a Type I use of force,
SPD officers must still report it, and it is tracked separately.5 Type II force also declined by just
over thirty percent (30.4%) in 2019, comprising 21.5% of force reported in 2019 (relative to 16%
of all force reported in 2018).

In total, 20 Type III uses of force, across 12 separate incidents, were reported in 2019. The small
number and extreme infrequency of these incidents does not lend this category to statistical
trend analysis. Type III incidents in 2019 comprised two fewer uses of Type III force across two
fewer incidents than in 2018. Twelve of these Type III uses of force involved the discharge of a
firearm, across six separate Officer Involved Shooting (OIS) incidents. Each Type III incident,
including the six OIS incidents, is described in greater detail in Section II of this report.




4
 As seen in past years, these numbers are likely to change as force investigations are completed and captured by
DAP. The City will report any significant changes to the Court in its next filing.
5
    SPD officers reported 827 incidents of handcuffing discomfort in 2019.
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For purposes of showing trends over time, Table 1 shows all use of force reported between
January 1, 2015 and December 31, 2019; Figure 2 shows a linear regression time series analysis
of use of force trends, citywide, over a five-year time period dating back to 2015.
Table 1: Use of Force Counts by Year




Figure 2 shows a curvilinear regression trend analysis of Type I and Type II force, citywide, over
this four-year period. Across prior years, an overall decline is observed in both Type I and Type
II force. The presence of a well fit curvilinear form suggests an oscillating wave, rather than a
continuous decline. The presence of “shock” in the reporting system (the change to clarify the
reporting of Type I handcuffing discomfort), likely explains the emergence of a wave in Type I
force but does not explain the decline in Type II force. The department will continue to monitor
these effects.6




6
 As noted earlier, Type III force continues to occur so infrequently in Seattle as to be considered a statistically random
event and is therefore does not support conventional applications of statistical trend analysis, although each case is
discussed later in this report.




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Figure 2: Use of Force Trends Citywide (2019)7 8




                 2. Use of Force by Administrative Assignment
Table 2 shows the distribution of force by type and bureau of involved officers’ administrative
assignment. In total, as would be expected, 91.6% of all reported force was related to patrol
operations. The majority (86.7%) of uses of force were reported within the Patrol Operations
Bureau, which is primarily responsible for beat patrols and 911 responses, while the Professional
Standards Bureau, which includes the Field Training Unit (to which student officers on patrol are
administratively assigned), accounted for 4.9% of all uses of force. All other bureaus (Homeland
Security and Special Operations, Investigations, and Collaborative Policing) accounted for the
remaining 8.4% of force reported. These figures are consistent with 2018 distribution by
assignment figures despite the removal of handcuffing pain from this reporting.
Table 2: Distribution of Use of Force by Type and Bureau

7
  Type I UoF: r2 = 0.4962 p = <0.000, indicating the presence of a highly significant two-period polynomial trend
(an oscillating wave), with effect, bordering on “large” in measurement.
8
  Type II UoF: r2 = 0.2140 p = <0.0035, indicating the emergence of a significant medium effect trend, similar to
Type I force.
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Compared to 2018 data, these numbers reflect a 48.8% decrease in the Operations Bureau and
a 54.5% decrease in Professional Standards Bureau in Type I force, due in large part to the
removal of handcuff discomfort from these figures. There was a nearly 60% decrease in the
Homeland Security and 75% decrease Investigations Bureaus in Type II force. See Table 3.9




9
 The Department presents these numbers for context only; meaningful inference should not be derived from
measures of change over a short time period, particularly with the low counts observed here.




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Table 3: Percent Change of Distribution of Use of Force by Type and Bureau

                                                     Homeland Security         Professional
                                    Operations                                                   Investigations
Table 3. Types of Uses               Bureau
                                                        and Special             Standards
                                                                                                    Bureau
of Force by Bureau                                   Operations Bureau           Bureau
                                  2018      2019      2018       2019         2018     2019      2018      2019
               Percent of total
               uses of force
                                  82.5% 75.9%         76.9%        83.1%      92.6%     86.4%    77.8% 91.7%
               within each
     Level 1   bureau
     Use of    Counts             1,635     837        100            69       112          51    14        11
      Force    Percent change
               in use of force
                                      -48.8%                 -31.0%                 -54.5%             -21.4%
               from 2017 to
               2018
               Percent of total
               uses of force
                                  16.6% 22.7%        20.8%         14.5%      6.6%      13.6%    22.2%     8.3%
               within each
     Level 2   bureau
     Use of    Counts              329      250         27            12        8            8     4            1
      Force    Percent change
               in use of force
                                      -24.0%                 -55.6%                  0.0%              -75.0%
               from 2017 to
               2018



                    3. Use of Force by Subject Demographics

In discussing disparity in the demographic distribution of subjects involved in any study of law
enforcement activity, one important note bears emphasizing. As is reflected in statistics
nationwide, racial disparity is of significant ongoing concern, and is an important issue that
requires continued discussion and analysis within the limited role of law enforcement but also
beyond. In the present state of sociological and criminal justice research, there is no proven,
reliable methodology for accounting for all the multitude of recognized factors that may combine
to result in a disparity within the metric measured – including those critical factors upstream
(education, socioeconomic status, family structure, etc.) of police involvement that may
contribute to the likelihood a person will come into contact with police. In other words, while
numbers can identify a disparity, they cannot explain the disparity. The Department is proud
of its work in identifying and addressing disparity.10 In addition to its many research agreements
with academic institutions around the country (including the University of Virginia and Harvard,
Princeton, Northwestern and George Mason Universities), and the world (including University of

10
     See SPD’s Disparity Review – Part II Developing a Deeper Understanding of Disparities
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Tel Aviv in Israel), the Department continues to maintain close research partnerships with Seattle
University and the University of Washington – the latter two partnerships explore measures of
racial disparity in police data. The Department also continues to partner closely with the Institute
on Race and Justice at Northeastern University in Boston, MA. All these strategic partnerships
are focused on better understanding the causes and remedies for observed disparity across law
enforcement metrics.

With respect to the Department’s 2019 data, 75.2% of subjects were male; 23.4% were female
(1.3% of subjects are of unspecified gender). 38.5% % of male subjects were white; nearly half
(45.6%) of female subjects were white. Figure 3 shows the distribution of force subjects by race
and gender; table 4 shows the distribution in subject race by level of force. No significant
differences were observed when broken down by level (type).

Figure 3: Use of Force by Subject Gender and Race




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Table 4: Subject Race by Force Type




As noted above, the data in tables 3 and 4 numbers reflect distinct uses of force, and one incident
may include multiple uses reportable of force. Of 6 distinct subjects involved in OIS incidents,
one was a White male; one was a Black female; one was an Asian male; one was an Asian female;
and two were males of a not specified race. Of the 5 distinct subjects involved in Type III (non-
OIS) incidents, two were White males; one was a Black male; one was a Black female; and one
was male of a not specified race. Each of the Type III uses of force is discussed in greater detail
in Section II of this report.

               4. Use of Force by Dispatch Type and Priority11

Officers are logged to calls either by a dispatcher (e.g., in response to a 911 call) or by on-viewing
an incident (observing an incident while on patrol) and responding. Of the 1,251 use of force
reports that could be associated to a CAD12 event in 2019, most (71.2%) were calls in which the
officer was dispatched in response to a call for service from the public. A breakdown of use of
force, by type, distinguished between dispatches and on-views, is presented in Table 5.




11
  These numbers exclude a small fraction of force reports that could not be cross-referenced with a
specific CAD event.
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Table 5: Use of Force by Dispatch Type




The reasonableness of force, both in law (see, e.g., Graham v. Connor, 490 U.S. 386 (1989)) and
in policy (see SPD Manual Section 8.000(4)) is based in part on the totality of the circumstances
known to the officer at the time the force used, and considered from the perspective of the
reasonable officer on the scene, rather than with 20/20 hindsight and the benefit of additional
information. In that regard, call type and priority can be considered to some degree as a priori
(theoretical, or deductive) knowledge of the circumstances to which an officer is responding.
Calls for service, whether dispatched or officer-initiated, are assigned a priority, based on the
immediacy of the need. Priority 1 calls are incidents that require an immediate response,
including incidents that involve obvious immediate danger to the life of a citizen or an officer.
Priority 2 calls are noted as urgent, or incidents which if not policed quickly could develop into a
more serious issue (such as a threat of violence, injury, or damage). Priority 3 calls are
investigations or minor incidents where response time is not critical to public safety. Priority 4
calls involve nuisance complaints, such as fireworks or loud music. Priority 7 calls are officer-
initiated events, such as traffic stops; Priority 9 is used to indicate administrative tasks or
downtime. As would be expected, across force levels, the highest frequency of force occurred in
connection with Priority 1 calls. A breakdown of force, by level, call priority, and percent change
relative to 2018 is presented in Table 613. As shown, 42.5% of all use of force was associated with
a Priority 1 call; another 34.1% of force was associated with a Priority 2 call. The trend of overall
decline in use of force is seen again across call priority.




13
  These numbers exclude a small fraction of force reports that could not be cross-referenced with a specific CAD
event.




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Table 6: Levels of Use of Force by Call Priority (2019)




When an incident is created by Communications, whether initiated in response to a 911 call for
service or called in by an officer on-scene, the incident is assigned an initial call type based on
information that is reported at the outset. Table 7 sets forth the top ten initial call types that
were associated with the majority of uses of Type I and Type II force. Because Type III uses of
force are statistically random events, they are excluded from this analysis.
Table 7: Top Ten Initial Call Type by Resulting Level of Use of Force
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Calls are assigned a final call type that is based on information gathered during the call and
response and standards for federal crime reporting. As seen in Table 8, Types I and II force were
most frequently associated with incidents that resolved as Assault, Other (27.7%), followed by
Crisis Complaint – General (13.6%), Domestic Violence with Mandatory Arrest (11.4%), Warrant
Services – Felony (10.5%), and Prowler – Trespass (10.1%).
Table 8: Top Ten Final Call Types by Resulting Level of Use of Force




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               5. Use of Force by Day and Time


Figure 4: Average Use of Force by Day of Week




The distribution of force across day of the week is shown in Figure 4. Use of Type I force occurred
most frequently on Wednesday (16.2%) and Friday (16.1%). Use of Type II force was reported
most frequently on Saturday (19.6%) and Friday (15.5%). In 2018, Wednesday and Thursday had
the highest rates of Type I force while in 2019, Type I force shifted to Wednesday and Friday.
Generally, Type II force was found to be volatile across the week but highest on the weekend.
Friday (15.5%) and Saturday (19.6% had the highest rates of Type II force in 2019.
Distribution of force across the watches deviated somewhat from 2018. Type I force was reported
as occurring slightly more frequently during 2nd watch than during 3rd watch as in 2018. Type II
force was most frequently reported on 3rd watch in 2019, though only slightly higher than 2nd
watch. The majority of Type III - OIS force occurred during 3rd watch, though other Type III force
tended to happen during 1st and 2nd watch. See Table 9.
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Table 9: Distribution of Use of Force by Type and Watch14




Distribution of force across the 24-hour day maintained a curvilinear pattern virtually
indistinguishable in 2019 relative to 2018, though there was a slight shift of force occurrence
earlier in the evening. This visual pattern is confirmed by the presence of two well-fit models
(see footnotes 12 and 13). See Figure 5.




14
  Officers are assigned to one three watches. First watch is from 0300-1200 hours, or 0330-1230. Second Watch is
from 1100-2000, or 1130-2030. Third Watch is from 1900-0400 or 1920-0430.




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Figure 5: Use of Force Rates by Time of Day1516




                 6. Location


Analysis of use of force location data is based on the geolocation of the address associated with
the force incident. Though all use of force incidents record a location address, in 2019, just under
15% of these addresses did not resolve into geolocated information17. Complete success in the
geolocation process is not possible with current technology, however the Department is working
to improve the geolocation process to increase the percentage of incidents included in future
location analyses. The following analyses are conducted on the approximately 85% of use of force
incidents recorded in 2019 which resolved correctly.
In 2019, West precinct had the largest percentage of all use of force (31.6%) while the Southwest
precinct accounted for just 4.0%. 14.5% of all use of force was not able to be geolocated.
Table 10: Distribution of Use of Force by Precinct

15
   2018 r2 = .60, p = .0003, indicating a large effect trend or well fit model.
16
   2019 r2 = .76, p <.0001, indicating a very large effect trend or very well fit model.
17
   Geolocation is the identification of the real-world longitude and latitude coordinates of UoF incidents. These
coordinates are used by SPD to accurately analyze the incidents geographically. Ambiguous or non-specific addresses
associated with UoF incidents are currently not able to be resolved into geolocated coordinates. These address
locations are spread across Seattle.
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Figure 6 18 shows the distribution of all geolocated uses of force in 2019. The percent change
from 2018 to 2019 is consistent across all precincts and aligned with the overall decline in use of
force attributed in great part to the change in the reporting of handcuffing pain. The West
precinct saw the smallest decline in overall use of force (-31.5%) while all other precincts saw a
decline between 50% and 55%.
     Figure 6: All Use of Force 2019 with Percent Change
     2018-2019




18
  The percentages shown in the figure do not match Table 10 above because Figure 6 does not include the null
geolocated values.




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The distribution of use of force was less evenly distributed in 2019 than it was in 2018. Type I
force distribution is similar to all use of force because it makes up the bulk of all force use (see
Figure 7). Type II force was also significantly less evenly distributed in 2019 than in 2018 (see
Figure 8). In 2019, the West precinct accounted for 40.9% of Type II force while accounting for
29.2% in 2018. The Southwest precinct accounted for 5.3% of Type II force in 2019 but just 2.3%
in 2018 while the North precinct declined to 17.8% from 30.6%.
Figure 7: Type I Force 2018 and 2019 by Precinct
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Figure 8: Type II Force 2018 and 2019 by Precinct




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Most use of force in the West precinct occurred in the King and David sectors (see Figure 9). The
distribution of force in the North Precinct was more evenly spread among the Nora, Lincoln, and
Union sectors (see Figure 10).
Figure 9: West Precinct All Use of Force Distribution 2019




Figure 10: North Precinct All Use of Force Distribution 2019
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                 7. Arrests to Use of Force
In previous reports, SPD was unable to report arrest counts which prevented the department
from calculating an arrest rate in use of force incidents. The department committed to filling this
gap and in May of 2019 went live with a New Records Management System (NRMS). This new
system captures the full spectrum of constitutional seizures, including arrests. With this new
data, SPD calculated the arrest rate in use of force incidents for the second half of 2019. The rate
of force used during the arrest of a subject in the last half of 2019 was just 7.8%. 5.9% of all
arrests involved a Type I Use of Force while fewer than 2% of all arrests resulted in Type II or Type
III force.19 See Table 11.
Table 11: Arrest Rates (July 1, 2019-December 30, 2019)




                 8. Use of Force – Less Lethal Devices
As defined in SPD Manual Section 8.050, less lethal devices are “devices designed and intended
to apply force not intended nor likely to cause the death of a subject or great bodily harm.”
Approved Department-issued devices include conducted electrical weapons (Taser), impact
weapons (baton), and Oleoresin Capsicum (OC) spray. In addition, vehicle related tactics, 40MM/
Blue Nose, and canine deployments are tracked as less lethal tactics; hobble restraints, which can
be used to restrain a subject’s limbs, and Noise Flash Diversionary Devices (NFDDs), a device
typically used by SWAT which cause a large flash and a noise and are intended to disorient, but
not make contact with, a subject are also tracked in this category. A breakdown of incidents
involving one or more less lethal tools is provided in Table 12.
Table 12: Less-Lethal Deployments (January 1 – December 31, 2019)
                  Tool                         Number of Incidents              Number of Involved Officers
 Taser                                                24                                    26
 Baton (Pressure Point)                                1                                    1

19
  There is some disagreement about what constitutes an appropriate denominator for force rates. The department
will consider both arrest and dispatch rates in future analysis.




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 Baton (Strike)                                             1                                     1
 Hobble Restraint                                           2                                     2
 NFDD                                                       29                                    39
 Canine                                                     4                                     4
 Vehicle Tactics (PIT)                                      1                                     1
 Vehicle Tactics – Other (Ramming)                          1                                     2
 OC – Pepper Spray                                          4                                     4
 Chemical Other                                             7                                     2
 Blast Balls                                                0                                     0
 Blue Nose / 40MM                                           6                                     7
 Stop Stick Deployment                                      4                                     4


                  9. Less-Lethal Devices – Taser20
The use of a Taser is governed by SPD Manual Section 8.300, Use of Force Tools. As with any less
lethal tool, it may be used “to interrupt a subject’s threatening behavior so that officers may take
physical control of the subject with less risk of injury to the subject or officer than posed by
greater force applications. Less-lethal devices alone cannot be expected to render a suspect
harmless.”
Tasers operate in two primary modes: “probe” (or “dart”) mode and “contact” (or “drive stun”)
mode. In dart mode, Tasers use compressed nitrogen to fire two barbed probes (darts).
Electricity travels along thin wires attached to the probes and can bring about uncontrolled
muscle contractions which override an individual’s voluntary motor function (neuromuscular
incapacitation, or NMI). In drive stun mode, the device is placed in direct contact with the
subject’s body; in this manner of deployment, the Taser is intended to cause significant pain, but
it does not override motor function.
By policy, Seattle Police Officers are required to carry at least one less-lethal tool (Taser, baton,
or Oleoresin Capsicum (OC) spray). Officers who choose to carry Tasers are required to attend a
two-day training course before being issued their device.
The Department tracks all Taser deployments (whether in dart mode or drive stun mode) as a
Type II use of force, regardless of whether the Taser application was effective or not in bringing
the subject under control. Each Taser application is reported as a separate force count; an officer
who deploys their Taser twice in the course of an incident is required to report that as two
separate applications. Arc warnings (a spark triggered as a visual indicator of the Taser’s capacity
to enhance a verbal warning) and the pointing of the device’s laser alone, are not reportable
events.


20
  This report follows on the Department’s 2016 Taser Report, a stand-alone report that describes in greater detail how
Taser deployments are tracked and reported. A copy of that report can be accessed at http://spdblotter.seattle.gov/wp-
content/uploads/2017/12/Taser-Report-2016.pdf.
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In reviewing data around Taser deployments, it is important to note that the low frequency with
which Seattle officers deploy Tasers precludes drawing statistically meaningful inferences from
these numbers.

                  a. Taser Deployments
In total, in 2019, 26 Seattle Police officers reported deploying/activating their Taser 42 times
across 24 separate use of force incidents. (In other words, an involved officer could deploy their
Taser more than once in the same incident.) Most of these incidents (88.5%) involved one or two
Taser activations. As shown in Figure 11, the numbers reported for 2019 are consistent with
those reported the prior two years with respect to the number of officers involved, the number
of incidents in which a Taser was used, and the total number of Taser applications.


Figure 11: Trends over Time in Taser Deployments


        60
                                                                 54
        50
                                                                       49

         40                                                                   42
                    30   29
         30                    26    27    27
                                                   24
         20

         10

              0

                  INVOLVED OFC'S
                                    # OF INCIDENTS
                                                               # OF APPLICATIONS

                                    2017    2018        2019




                  b. Taser Effectiveness
Officers are required to report on the effectiveness of all force used, from verbal commands to
discharging a firearm, as “effective” or “not effective” under the guideline that “if the force used
allowed you to take the subject into custody,” then it was effective. If it did not, then it was not
effective. Officers make this determination for each type of force they apply in a given incident.




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                                                              The Taser reporting module (shown
                                                              to the left) allows officers to report
                                                              force as “Effective,” “Limited,” or
                                                              “Not Effective.” Effectiveness is
                                                              determined by the involved officer
                                                              at the time of Taser activation and is
                                                              based on their training and
experience. If an officer believes the Taser was effective in taking the subject into custody, that
officer should report the Taser application as “Effective.” If the application had some useful
effect in taking the person into custody, it should be reported as “Limited.” If the Taser failed,
misfired, missed, did not result in NMI, or otherwise was not useful in taking the person into
custody, the deployment should be reported as having “No Effect.”
One limit to this reporting interface is that officers evaluate the effectiveness of Taser application
with regard to his or her deployments in the aggregate, rather than assessing each deployment
individually. In other words, if an officer deploys three Taser applications, the third of which is
effective but the first two are not, the reporting interface would reflect that officer’s Taser use,
overall, as effective. For purposes of this report, for incidents that involved multiple applications,
narratives were examined to determine the effectiveness of each application separately. In the
hypothetical example above, accordingly, three applications would be reported, one of which
was effective, and two of which were not.
Figure 12: Overall Taser Effectiveness by Activation
                                                                 A breakdown of Taser
                                                                 effectiveness, by activation
     Effective                                                   count, is shown in Figure 12.
                           23
                                                                 In 23, approximately 54.8% of
       Limited    5                                              the 42 total activations across
                                                                 24 incidents, the Taser was
      No Effect
                                                                 reported to be effective in
                     14
                                                                 taking the person into
                0                                                custody; it was reported not to
                     5
                           10                                    be effective in 14, or
                                   15
                                           20
                                                    25           approximately 33.3%, of the
42 applications. The Taser was reported to be of limited effect in the remaining 11.9% of
applications. Seattle’s Taser effectiveness rate is consistent with those reported by other
agencies; see, e.g., Los Angeles Police Department’s 2016 Use of Force Year-End Review,
reporting a 58% Taser effectiveness rate (http://assets.lapdonline.org/assets/pdf/2016-use-of-
force-year-end-review-small.pdf).
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               c. Taser Effectiveness by Application Type
In addition to dart-mode (or probe deployment) and drive stun, officers may classify certain
applications as either “probe/contact” or “re-energize.” A probe/contact application indicates a
situation in which the Taser is fired in dart mode, at least one probe makes good contact, but
NMI is not achieved. In this circumstance, the Taser is then deployed in drive stun elsewhere on
the body to complete the circuit in an effort to achieve NMI. The “re-energize” classification
indicates a situation in which an officer is required to apply a second or third trigger pull in order
to recycle the electric current; as each application is separately described in the officer’s Blue
Team statement, a “re-energize” application would necessarily appear in conjunction with
another mode of deployment. Again, multiple applications may be reported in a single incident;
returning to the hypothetical example of the three applications, only the last of which was
effective, one might envision that situation to entail a probe deployment, a re-energizing
application, followed by a probe/contact.
Figure 13: Taser Deployments by Activation Type
                                                                           A breakdown of
                                                                           Taser deployments
                                                                           by activation type
                                                                           (or mode) is
                          Drive Stun                                       presented in Figure
                             19%
                                                                           13; Figures 14(a)
                                                                           and (b) show a
                    Re-Energize
                       12%                Probe                            breakdown of Taser
                                           69%                             effectiveness by
                                                                           activation type. As
                                                                           shown between
                                                                           these two figures,
                                                                           the majority (69%;
                                                                           n=29) of all Taser
                                                                           deployments in
2019 were in “probe” mode. Of these, 17, or approximately 59%, were reported to be
effective; 10 were reported to be not effective, and the remaining 2 were reported to be of
limited effect. No Taser deployments were made in probe/contact mode during 2019. 4 of the
8 drive stun deployments, or approximately 50%, were reported to be effective with 1 reported
to be not effective and 3 reported to be of limited effect.




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Figure 14(a): Taser Effectiveness (Count) by Activation Type

            17
   18
   16
   14
   12                    10
   10
    8
    6                                                                           4
                                                                          3          3
    4             2                                          2
                                                                                            1
    2                             0    0      0                    0
    0
             Probe             Probe/Contact            Re-Energize            Drive Stun

                                  Effective       Limited         No Effect


Figure 14(b): Taser Effectiveness (Percent) by Activation Type

            59%                                                          60%
   60%
                                                                               50%
   50%
                                                            40%                          37.50%
   40%                   34%

   30%

   20%                                                                                      12.50%
                   7%
   10%
                                  0% 0% 0%                          0%
    0%
                 Probe          Probe/Contact               Re-Energize        Drive Stun

                                  Effective       Limited        No Effect
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               a. Taser Effectiveness by Subject Distance
To work in probe, or dart, mode, there must be
adequate spread between the probes to
generate a sufficient current to cause NMI. Due
to the trajectories and lag of the probe wires,
the greater the distance the officer is from the
subject, the greater the spread will be; as
shown in the graphic to the right, Taser
estimates an approximate one foot spread per
seven feet of travel. Optimum distance for a
Taser deployment is 7-12 feet, with a target of
center mass. In probe mode, the spread
between probes must be generally be a
minimum of four inches to be effective.
The reporting module for Taser deployments requires officers to report their estimated distance
from the subject by way of four drop-down range selections of 0 feet (as would be the case in
probe/contact or drive stun mode), 1-5 feet, 6-10 feet, and 11-20 feet. A breakdown of Taser
deployments by distance from subject is presented in Figure 15; Figures 16(a) and (b) show a
breakdown of Taser effectiveness by distance.




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Figure 15: Taser Deployments by Distance from Subject
                                                                Of the 11 deployments that
                                                                were reported at a distance of
                                                                1-5 feet, six were reported to
                     11-20 FT
                                    0 FT                        be effective, four were
                                    21%                         reported to be not effective,
                        29%
                                                                and one was reported to be of
                                                                limited effect. At a distance of
                                    1 - 5 FT
                        6 - 10 FT     26%                       6-10 feet, nine of ten
                           24%                                  deployments were reported to
                                                                be effective and one was
                                                                reported to have a limited
                                                                effect; zero activations were
reported to have no effect. Of the 12 deployments that were reported at a distance of 11-20 feet,
the majority (9) were reported to have no effect and 3 were reported to be effective.


Figure 16(a): Taser Effectiveness (Count) by Distance from Subject

                                                         9                          9
   9
   8
   7                           6
   6        5
   5                                       4
   4              3                                                      3
   3
   2                   1             1                         1
   1                                                                 0       0
   0
                0 FT           1 - 5 FT                  6 - 10 FT       11-20 FT

                                   Effective   Limited       No Effect
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Figure 16(b): Taser Effectiveness (Percent) by Distance from Subject

                                                        90%
    90%
                                                                                          75%
    80%
    70%
                                54.50%
    60%      50%
    50%
                37.50%                    36.40%
    40%
                                                                              25%
    30%
    20%                12.50%                                 10%
                                     9.10%
    10%                                                              0%             0%
     0%
                0 FT               1 - 5 FT              6 - 10 FT             11-20 FT

                                  Effective   Limited     No Effect




               b. Factors Limiting Taser Effectiveness
Several factors may impact the effectiveness of a Taser, including a missed probe, low spread
between probes, heavy or baggy clothing, low or high body mass. The physiological state of a
subject may also impact Taser effectiveness. Where a Taser application is not effective, officers
are required to identify in their statements the reason so, based on their training and perspective
at the time of the deployment. The Taser reporting module provides the following options for
recording Taser ineffectiveness:

•   Spread (i.e., insufficient to cause NMI);
•   Miss (i.e., probes did not strike the subject);
•   Clothing (e.g., thick, puffy, and baggy clothing may cause a gap between the subject and the
    probe, resulting in a disconnect and ultimately failure of the application);
•   Cartridge Failed: Didn’t activate.
A breakdown of those factors identified as limiting Taser effectiveness is shown in Figures 17(a)
and (b).




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Figure 17(a): Factors Limiting Taser Effectiveness (Count)



       Miss                   4


  Dislodged       1


    Spread            2


   Clothing                           11


   Distance       1

              0           2       4     6         8       10       12




Figure 17(b): Factors Limiting Taser Effectiveness (Percent)
                                       Distance                             Of the 19 Taser
                          Miss            5%                                deployments that
                          21%
                                                                            were reported to be
                                                                            not effective or of
                                                                            limited        effect,
                                                                            clothing          was
          Dislodged
              5%                                                            identified as the
                                                                            limiting factor in the
               Spread
                                                                            majority            of
                11%                                                         instances (n=11). In
                                                                            four instances, one
                                                   Clothing
                                                     58%                    or more Taser
                                                                            probes missed the
                                                                            subject; in two
instances, the officers reported insufficient spread between the probes. Distance was provided
in one instance and dislodged probes was reported in another.




         SECTION II: FORCE INVESTIGATION AND REVIEW
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All uses of force are thoroughly and critically reviewed. While the section above provides data
and statistics about the frequency and distribution, it is the substantive review of each force case
by the chain of command, the Force Review Unit, and the Force Review Board that determines
whether force is in or out of SPD policy. If any reviewer in the chain of command or the FRU, or
if the FRB by consensus, finds an indication of a policy violation, whether related to the force or
otherwise, that case is required to be referred to the Office of Police Accountability for further
review and a determination about whether there is any policy violation, and if so, the level of
recommended discipline. In addition, the OPA Director or his designee sits in on all FRB
discussions, and has the prerogative to further review any case regardless of whether the FRB
separately refers.

This Section describes the investigation and review processes for Types II and III uses of force,
provides a summary of each Type III force investigation initiated by the Force Investigation Team
(FIT) between January 1 – December 31 20199, and discusses assessments by the Force Review
Board (FRB) of both Type II and Type III cases reviewed during 20199.

   A. INVESTIGATION OF FORCE

       1. Investigation of Type II Use of Force
Investigation and Review of Type II uses of force are governed by SPD Manual Sections 8.400 and
8.500.
Officers who are involved in using Type II force are required to notify an on-duty sergeant of the
incident, upload and flag in-car video with the incident number, complete necessary
documentation relating to the incident (General Offense report) and submit a detailed use of
force statement before leaving their shift. Officers who witness a Type II use of force are likewise
required to submit a witness officer use of force statement prior to ending their shift.

The responding Sergeant is responsible for conducting the investigation into the use of force.
The Sergeant interviews the subject, the involved officer(s), any witness officers, and any civilian
witnesses. The Sergeant reviews the officer’s statement to ensure it is thorough and complete,
secures relevant in-car video, and provides a summary narrative of the incident and description
of the evidence gathered and the investigative process. This summary, and all supporting
documents, are then forwarded up the chain of command.




       2. Investigation of Type III Use of Force


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Investigation of Type III uses of force, including Officer Involved Shootings, are governed by
Manual Sections 8.400 and by the FIT Manual, a comprehensive guide for conducting thorough,
complete investigations, interviews, and analysis.
The Force Investigation Team is responsible for investigating all Type III uses of force by Seattle
officers. FIT also investigates serious assaults against officers, any discharge of a firearm by an
officer, in-custody deaths (both within SPD custody or, by agreement with the King County Jail,
any deaths occurring in the jail or within 72 hours of release of the jail), and any use of force
incident in which the supervisor believes there was misconduct in the application of the force.
FIT consists of a Captain, a Lieutenant, a Sergeant, and six Detectives. The team is deliberately
decentralized from SPD headquarters, and is instead located in the same building as the Crime
Scene Investigation Unit and the State Crime Lab at Airport Way Center. This location facilitates
ease of access to the Evidence Section, the Crime Lab, the Photo Lab, and allows for privacy of
officers from their coworkers at each precinct when needed as witnesses in a FIT case.
Table 13 shows a breakdown of total FIT responses from 2014 to 2019. Response total reflects
all responses by the FIT team, including non-force-related incidents (e.g., assisting an outside
agency, jail death, or assault on officer investigation). The number of officers reflects the total
number of officers who used force at any level (Type I, II, or III) across all incidents investigated
by FIT; because each force case is investigated according to the highest level used in that incident,
one FIT case can include multiple uses of force at lower levels as well.

Table 13: Total FIT Responses (2014-2019)

                            Number          OIS       Returned         In-
     Year     Responses       Of          (Fatal)        to          Custody Unintentional Potential
                            Officers                   Patrol         Death   Discharge    Misconduct
     2014        46             70          9 (5)          8             2                3                  2
     2015        26             50          5 (2)          3             2                3                  2
     2016        32             49          4 (2)          4             1                2                  2
     2017        26             49          6 (3)          3             5                1                  1
     2018        28             61          2 (2)          0             5                4                  4
     2019        23             33         8 (3)21         0            222               2                  2




Of the 23 incidents that FIT investigated in 201919,


21
   Followings the passage of I-940, SPD now investigates OIS for the King County Sheriff’s Office. These numbers
are inclusive of 2 OIS investigations related to KCSO deputies, one which was fatal.
22
   As discussed below, these investigations included the deaths of two subjects in the custody of the King County Jail.
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       •   Fifteen involved Type III use of force by one or more Seattle Police Officers, six of which
           were Officer Involved Shootings (OIS), two of which were fatal.
       •   Two were Officer Involved Shootings (OIS) by King County Deputies, one of which was
           fatal.
       •   One involved force that after investigation will be reclassified.
       •   Two were unintentional firearm discharges that did not result in any injuries.
       •   Two were in-custody deaths which involved subjects in the King County Jail.
       •   One involved a mercy shooting of an animal.



           a. FIT Response Process23

A typical FIT response is initiated when FIT receives a screening call from an on-scene sergeant
or other supervisor. FIT directs the supervisor to sequester the involved officers and have them
escorted individually, by an uninvolved officer to the FIT office. The OPA Director, the Crime
Scene Investigation Unit (CSI), Training Unit, and executive members of Command Staff are also
notified to respond to the scene as appropriate.

FIT detectives are responsible for gathering physical evidence, eyewitness and involved subject
statements, and any video evidence, both at the scene and through later canvassing of the
neighborhood, news media and internet. At the scene, the lead FIT investigator consults with
CSI, Training, and OPA regarding the evidence gathered; if there is any indication of criminal
conduct by the officer, the investigation is bifurcated such that the administrative review of the
incident is screened from the criminal investigation. No case investigated during either 2015 or
2016 involved a criminal allegation.

Involved and eyewitness officers are interviewed, separately, at the FIT offices, for purposes of
capturing as close to the event as possible their perceptions and recollections of the incident.
Recognizing that video is only one piece of evidence, can be misleading, and is often incomplete,
FIT has moved towards not permitting officers to watch video prior to giving their statements, so
as to capture as cleanly as possible what the officer perceived leading up to and the moment the
force was used.




23
     FIT policy and procedure is set forth in greater detail in SPD Manual Section 8.400.



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When complete, the FIT investigation, and CSI investigation if any, is formally presented to the
Force Review Board. A completed FIT investigation is required to cover, where applicable:

•      A summary of the incident;
•      Scene description, diagram, and/or photographs;
•      Witness and video canvass;
•      Subject information;
•      Witness information;
•      Injuries, either to officer or subject;
•      All physical evidence;
•      Clothing analysis;
•      Weapons and weapon testing/analysis;
•      Personnel involved;
•      Any communications concerning the incident or the investigation;
•      FIT callout notifications; and
•      Detective’s log of investigation steps.

           b. 2019 FIT Responses
The descriptions presented in Table 14 are intended to provide neutral but informative
statements of each of the 23 incidents to which FIT responded during 2019. They are not
intended to provide a detailed analysis, nor are they intended to convey a qualitative
determination as to the use of force, which by policy is the purview of the FRB in each of these
cases. Further, while an overview of the FRB’s case dispositions in 2019 in the aggregate is
presented later in this section, not all cases described here have yet undergone FRB review.
Table 14: FIT Investigations 201924



    Incident No.      Precinct        Event Summary
    2019-25276        West            Officers were dispatched to a call of a suicidal woman displaying
                                      a knife. The subject was known from past contacts to be
    Type III                          combative and assaultive towards first responders. Verbal
                                      commands to drop the knife were ineffective. As the subject
    1 Involved
                                      moved towards a civilian witness (her case worker), an officer
    Officer
                                      fired a less-lethal 40 mm round, striking the subject in the leg.
    Subject Black
    Female, age 59


24
     As of December 31, 2019, cases 2019-278870, 2019-397283, 2019-478870 were still pending before the FRB.
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Incident No.       Precinct   Event Summary

2019-44056         KCJ        The subject died in KCJ custody following an arrest by SPD
                              officers. No force was used in the incident. An autopsy of the
In-Custody                    subject determined that the subject had ingested a large
Death                         amount of cocaine.

2019-48393         North      Officers were dispatched to a series of 911 calls reporting
                              occupants of an apartment building hearing a woman screaming
Type III/OIS                  for help in Spanish. A separate 911 call was received from a
(Fatal)                       woman reporting that a co-occupant of her apartment was
                              threatening to kill another woman in the apartment;
2 Involved
                              subsequently, the caller reported that the woman was dead.
Officers
                              Upon breaching the apartment door, officers discovered the
Subject Hispanic              victim’s decapitated body and the subject, who was holding a
Male, age 34                  large kitchen knife and a meat cleaver. The subject initially
                              responded to commands to drop the knives and go to the
                              ground, but then picked the knives up and started moving
                              towards the officers while waving the knives. Both officers
                              discharged their firearms towards the subject, who died from his
                              injuries. An autopsy showed the presence of amphetamine and
                              methamphetamine in his system.

2019-55824         East       Officers responded to a “help the firefighter” call. When they
                              arrived, they observed a struggle between the subject and four
In-Custody
                              firefighters who were attempting to restrain him. The subject
Death
                              continued to struggle as officers stepped in to assist. Believing
                              that the subject was experiencing excited delirium, SFD
Subject White                 paramedics administered ketamine intramuscularly into the
Male, age 36
                              back of the subject’s right thigh. Officers maintained their
                              positions holding the subject down until he stopped struggling,
                              at which point he was transported via gurney to a waiting
                              paramedic unit. Once in the gurney, the subject was
                              determined to be unconscious and without an effective heart
                              rate. While SFD performed life-saving efforts, the subject was
                              transported to Harborview Medical Center, where he was
                              pronounced deceased. An autopsy determined that the cause
                              of death was acute amphetamine intoxication with features of
                              excited delirium. Other than body weight and control holds to
                              restrain the subject while he was struggling, no use of force was
                              used by any SPD officers on-scene.




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Incident No.    Precinct     Event Summary
2019-98802      East         Officers responded to a 911 call from a woman reporting that
                Precinct     her husband had loaded a handgun and left the apartment,
Type III/OIS                 stating that he was going to kill himself. The caller reported that
(Non-Fatal)                  she believed he would attempt to commit suicide by police.
Four Involved
                             Officers located the subject, formed a contact team, and
Officers
                             attempted to establish communication with the subject. The
Type II                      subject acknowledged the officers but declined to put down the
1 Involved                   gun, stating “You’re going to have to shoot me.” Additional
Officer                      efforts to de-escalate the situation were unsuccessful. The
                             subject pointed the firearm at officers, who fired upon the
Type I                       subject. Medical aid was rendered, and the subject was
1 Involved                   transported to Harborview Medical Center.
Officer

Subject Asian
Male, age 37


2019-111079     South & K9   Officers responded to a 911 call regarding the violation of a
                             domestic violence protection order. Officers were familiar with
Type III                     the subject and knew him to be assaultive towards officers. A
                             K9 was called in to locate the subject, who had fled; the subject
1 Involved
                             was subsequently observed running from the scene. After the
Officer
                             subject did not comply with orders to stop, the K9 was released
Subject Black                to apprehend the subject. During the apprehension, the subject
Male, age 33                 received bite wounds to the hands and thigh.

2019-160099     West         Officers were staged in Pioneer Square to monitor bar closing;
                             additional officers were nearby on the scene of a traffic collision.
Type III/OIS                 All officers heard two gunshots coming from the Sinking Ship
(non-injury)                 parking garage; as they were running towards the garage, they
                             heard multiple additional shots. One officer observed a subject
1 Involved
                             holding what appeared to be a Glock firearm firing eastbound
Officer
                             from the top of the garage. Believing that the subject may be
Type I                       firing towards the officers, that officer fired two shots at the
4 Involved                   subject. The subject was subsequently apprehended, along with
Officers                     two others, while attempting to leave the garage in a vehicle,
                             and was found to be in possession of a Glock firearm. One
Subject Black                passenger had a gunshot wound to his leg; the subject stated
Male, age 25                 that his passenger had been shot by an occupant of another
                             vehicle during an altercation that occurred following a minor
                             collision. Video evidence appeared to show the subject firing his
                             weapon downward, toward his passenger. The subject was not
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Incident No.     Precinct   Event Summary
                            injured, and an investigation determined that the round that
                            struck the passenger was not from an SPD firearm.
2019-165328      West       Officers responded to a 911 call from a woman crying and
                            stating that her boyfriend had a knife and was telling her he was
Type III/OIS
                            going to kill her and himself. She advised that there was blood
(Fatal)
                            everywhere. She advised that she was in the bathroom, but he
2 Involved                  was attempting to get in, and she could not leave because he
Officers                    would kill her. Upon arriving at the apartment, officers
                            announced their presence and ordered the subject to open the
Type I                      door; when they received no response, officers breached the
1 Involved
                            door. Officers observed the subject standing inside the
Officer
                            threshold of the apartment, holding a knife in his right hand.
Subject                     Officers ordered him to drop the knife; instead, the subject
Black/Hispanic              lifted his right hand and moved towards the officers. Two
Male, age 31                officers discharged their firearms at the subject.
2019-237453      West       While officers were arresting a subject, the subject attempted
                            to swallow narcotics. An officer appeared to use a neck
Type III
                            restraint to prevent the subject from swallowing. The subject
1 Involved                  alleged that the officer “stomped” on his neck. Based on the
Officer                     nature of the force used and the allegations, FIT responded and
                            initiated an investigation. The subject was evaluated at
Subject Black               Harborview, found to have normal vital signs and no signs of
Male, age 54
                            trauma.
2019-243418      West       Officers responding to a report of shots fired in a parking lot
                            observed a subject matching the description provided by 911
Type III OIS
                            callers of an individual seen walking away from the location
(Non-Fatal)
                            with a firearm. As officers approached and called out to the
2 Involved                  subject to stop, sit on the ground, and show her hands, the
Officers                    subject turned and began moving towards the officers, holding
                            a black object in her hand. Both officers discharged their
Subject Asian
                            firearms, striking the subject. A black handgun, later
Female, age 38
                            determined to have been stolen during a car prowl, was
                            recovered. The subject sustained a fracture of her humerus as
                            a result of the force.
2019-253560      North      An officer searching a vacant home for a burglary suspect
                            unintentionally discharged his firearm while transitioning the
Unintentional               firearm from his right to left hand.
Discharge –
No Injury


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Incident No.    Precinct   Event Summary

1 Involved
Officer


2019-309093                An officer, while at home and off-duty and while preparing his
                           firearm for training later that day, unintentionally discharged a
Unintentional              round from the firearm.
Discharge –
No Injury

1 Involved
Officer


2019-322701     West       Officers responded to a report of two males harassing people
                           and physically assaulting an elderly male.             The caller
Type III                   subsequently reported the two males were aggressively
                           grabbing people as they walked by; then advised that the two
3 Involved
                           males had separated. A second caller reported a male swinging
Officers
                           a chain and striking a street pole while another male watched.
Subject Black              Officers observed the subject at that location holding a chain.
Male, age 42               From inside his vehicle, using the PA system, an officer ordered
                           him to put the chain on the ground. The subject did not drop
                           the chain and approached the passenger side of the vehicle. The
                           officer exited the vehicle and again order the subject to drop the
                           chain. The officer could see another chain in the subject’s
                           shorts. The subject dropped one chain. The officer ordered the
                           subject to put the other chain on the ground as well. The subject
                           stepped back, pulled out the chain, and began swinging it.
                           Officers were able to get the subject on the ground, but he
                           continued to struggle, was able to get back on his feet, and
                           began waving the chain at the officers again. As officers
                           continued to order him to drop the chain, the subject squatted
                           down, set the chain on the ground, but kept his hand near the
                           chain. One officer deployed his OC spray at the subject, but the
                           spray did not appear to have any effect on the subject, and the
                           subject again grabbed hold of the chain. A Taser-equipped
                           backup officer arrived. One officer continued to order the
                           subject to drop the chain and get on the ground and warned the
                           subject he would be Tased. The subject, holding the chain, did
                           not comply. A Taser was deployed in the area of the subject’s
                           back. The subject appeared to pull the Taser probe out and
                           began running, still holding onto the chain. The officer deployed
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 Incident No.     Precinct     Event Summary
                               a second round of Taser probes, after which the subject fell,
                               sustaining a left temporal bone fracture.

 2019-397283      West         A plain-clothed officer observed a victim being assaulted outside
                               a bar. Another subject ran up with a gun and pointed it at the
 Type III OIS                  victim, who was on the ground. The officer fired at the subject,
 (Non-Injury)                  but missed.
 1 Involved
 Officer

 Subject White
 Male, age 35

 2019-478870      West/K9      This incident involved a K9 deployment with injury to the subject
                               warranting a Type III response. The investigation of this incident
 Type III                      remains open.




              3. FORCE REVIEW UNIT/FORCE REVIEW BOARD
The Force Review Board is a select group of Seattle Police Department personnel which meets
regularly to make determinations as to (1) whether a use of force investigation is thorough and
complete; (2) whether the force was consistent with SPD policy, training, and core principles; and
(3) with the goal of continual improvement and ensuring the Department remains abreast of
evolving best practices, whether any recommendations are made or other issues need to be
addressed with respect to policies, tactics, training, equipment, or otherwise.
The FRB is composed of standing members selected by the Assistant Chief of the Professional
Standards Bureau. Only standing members of the FRB may participate in the deliberations and
vote during board sessions. These standing members include one representative from the
Training Section, three representatives from the Patrol Operations Bureau, one representative
from the Audit, Policy & Research Section, and one representative from the Investigations
Bureau. The Captain of the Force Review Unit (or Assistant Chief of Professional Standards in the
case of an officer involved shooting review) is the standing Chair and casts the final vote if the




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Board’s vote is evenly split. A quorum of four voting members must be present for the Board to
review completed cases.7
The FRB includes a non-voting participant from the Crisis Intervention Team to answer issues
related to a subject’s mental health status, services they might be receiving, as well as assisting
the FRB in determining if an officer used “best practices” in de-escalation. Where appropriate,
subject matter experts from specialty units (e.g. Canine, SWAT, Communications, or the Range)
are asked to attend an FRB to answer any unit-specific questions that may arise.
Case selection for the FRB is determined by policy and handled by the Force Review Unit. All
completed Use of Force investigations are forwarded to the FRU using IAPro and Blue Team, a
paperless computer system. These cases include Type I, Type II, Type III uses of force, and Firearm
Discharges (both intentional and unintentional discharges).

By policy, the FRB reviews all Type III cases. The FRU, comprising a captain, a lieutenant, a
sergeant, and two detectives, reviews all Type II use of force reports. FRU staff and FRB members
undertake the same inquiry and apply the same standard of review when reviewing cases. FRU
staff and FRB members attend the same annual training involving the objective analysis of force,
which ensures that the FRU is conducting a thorough review of their cases consistent with the
reviews conducted by the Board.

Type II cases are sent to the FRB by the FRU when any of the following factors are involved:

•   Possibility of misconduct;
•   Significant policy, training, equipment, or tactical issues;
•   When FIT was contacted for consultation and declined to respond or investigate;
•   When less-lethal tools were used on the subject;
•   When a canine makes physical contact with the subject;
•   When the subject is transported to an emergency room.
All cases not selected for FRB review are reviewed by the FRU detectives and their chain of
command. The FRU captain makes the final determination based on the FRU’s reviews and
recommendations. Bifurcating Type II use of force cases allows the FRB to focus its efforts on the
more significant cases, such as Officer Involved Shootings, Type III investigations, and serious
Type II cases. Additionally, a random 10% of cases reviewed each month by FRU are presented
to the FRB for a second independent review – a mechanism to ensure quality control.




7
  Other observers to the Force Review Board may include Captains and higher, the Department’s Executive Director
of Legal Affairs, representatives from the City Attorney’s Office, the DOJ, the Monitoring Team, the Office of the
Inspector General, and a representative from OPA. In cases involving an officer involved shooting, a citizen observer
appointed by the Mayor’s Office also attend. These observers may attend FRB meetings, but they are not permitted
to vote.
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Figure 18 describes the review process for both FRU and FRB. Both look to ensure that the
investigation was thorough, timely, and complete, providing all material evidence. Both answer
the core inquiries of (1) whether the force was consistent with policy – including an affirmative
obligation to de-escalate when safe and feasible to do so, and if there were issues
with the force, whether supervisors appropriately identified those issues. The FRU considers –
and the FRB discusses – all pertinent factors surrounding the force, including the tactics used and
supervision at the scene. FRB determinations are documented and any issues identified are
referred to the appropriate commander for follow-up. If policy violations are suspected, the
incident is immediately referred to OPA, or to the chain of command if appropriate under Manual
Section 5.002, by the FRB Chair or designee, if not already referred by the reviewing chain of
command.

Figure 18: Force Review Protocol


  Was investigation thorough & complete?

      Was force
     consistent
                      Other factors to be addressed?
     with Policy?
                        De-escalation

         Did
                           Tactics
                         Supervision
                                         Recommendations
                                                                        Review and/or Revisions to
    supervisors          Equipment         Training and/or Discipline
                                                                            Policy, Training, or
      identify            Training        for those involved with Use
                                                                          Practices used by the
   deficiencies &                                   of Force.
                        Best Practices                                         Department.
   address them?




It is important to understand what an FRB finding means relative to the question as to whether
the force was constitutional. As the United States Supreme Court has long held, whether any
use of force is lawful under the Constitution is a case-specific determination, based on the
perception of a reasonable officer under the totality of the circumstances present at the time the
force is applied, and often a point on which reasonable minds can differ. While the courtroom is
generally the forum for determining the legality of a use of force, the Force Review Board is a
mechanism by which members analyze the broader question of whether the force meets the
requirements of policy and training that hold officers to a higher standard of conduct – and care
should be taken not to conflate the two. Importantly, SPD policy incorporates both federal and
state constitutional thresholds, but holds officers to a substantially higher level of performance
and scrutiny consistent with community expectations. Simply put, a finding that force is out of
policy does not equate to a finding that the force violated the Constitution, but a finding that the
force was in policy does mean that, in the view of the reviewers, it was also likely lawful.



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        4. OVERVIEW
In 2019, the Force Review Unit reviewed a total of 48 cases; the Force Review Board reviewed a
total of 100 cases. (Note: “Cases” are based on a single General Offense number, or CAD event;
cases may thus involve more than one officer, or more than one use of force, each of which is
separately considered.) As ten percent of cases reviewed by the FRU are randomly selected for
further review by the FRB, those cases are essentially double-counted in the numbers here. In
total, of the 100 cases reviewed by the FRB, nine cases had also been reviewed by the FRU.

Table 15 shows the 100 cases reviewed by the FRB broken down by the highest force level in each
case. 25

Table 15: Breakdown of Cases Reviewed by FRB by Type

 Type II                    87
 Type III                   7
 OIS                        6
 Total                      100




        5. FORCE REVIEW UNIT/FORCE REVIEW BOARD DETERMINATIONS
In 2019, a total of 502 officers were involved in the 148 cases reviewed by FRU and/or FRB. The
aggregate number of officers includes officers who were reviewed in connection with their tactics
and decision-making, even if those officers did not individually apply force. The numbers below
represent the number of officers involved across the cases, aggregated, and the determination
as by FRB and FRU as to whether each officer’s actions were either approved as consistent with
policy or deferred while under review by another unit.

Note: Under policy, the FRU/FRB do not decide any matter that is under investigation by the
Office of Police Accountability. It is thus important to emphasize that the approval/disapproval
rate indicated below does not indicate an ultimate determination as to whether the issue under
consideration is in or out of policy – a determination that is recommended by OPA following its
independent review but ultimately rests with the Chief, informed by OPA review.




25
  Again, completed cases are investigated and reviewed at the highest level of force used. A Type III case,
accordingly, may also involve Type II or Type I force; a Type II case may also include Type I force.
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       a. Use of Force

A breakdown of FRU/FRB determinations with respect to officers’ use of force is presented in
Table 16.

Table 16: Force Review Findings by Officer

                          FRB                     FRU                     Total
 Approved                 259                     106                     365
 Disapproved              3                       0                       3
 Deferred                 30                      0                       30
 Total                    292                     106                     398

Across 100 cases reviewed by the FRB, the involved officers’ use of force was found to be
reasonable, necessary, proportional, and otherwise in conformance with Department’s Use of
Force Policy in 259, (98.9%) of the 262 instances a determination was reached. In three instances,
the FRB disapproved of the use of force; in 30 instances, where a matter had been referred to
OPA prior to FRB review, the FRB determination was deferred, per policy, to OPA. Across the 48
cases reviewed by the FRU, the involved officers’ use of force was approved in all 105 instances.

       b. Tactics and Decision Making

Officers’ tactics and decision making through an incident are reviewed for determination as to
whether they are consistent with policy (including in-car video and body-worn camera
requirements) and training. Included in this review as a separate analysis is a determination as
to whether officers complied with the Department’s de-escalation policies that require
reasonable efforts to de-escalate a situation, where safe and feasible to do so, prior to using
force. A breakdown of FRU/FRB determinations with respect to officers’ tactics and decision
making is presented in Table 17.

Table 17: Tactics and Decision by Officer or Supervisor
                         FRB                     FRU                      Total
 Approved                362                     126                      488
 Disapproved             7                       0                        7
 Deferred                6                       0                        6
 Total                   375                     126                      501

Across 100 cases reviewed by the FRB, the involved officers’/supervisors’ tactics and decision
making were found to be consistent with policy, training, and de-escalation requirements in 362
(98.1%) of the 369 instances a determination was reached; in seven instances, the FRB
disapproved the tactics and decision making. In six instances, the determination was deferred
pending review by OPA. Of the 48 cases reviewed by the FRU, the involved officers’ tactics and
decision making were approved in all of the 126 instances considered. In considering FRU


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findings, however, it should be remembered that FRU has an obligation to refer to the FRB any
Type II case that may involve misconduct or significant policy or tactical issue; as it is the FRB
findings that are recorded as the determination of the case, these numbers should not be
surprising.

       c. OPA Referrals

The FRU and FRB have an obligation to refer to OPA any serious policy violation, including any
violation around use of force, unless already referred by the chain of command. In addition, the
OPA Director sits on the FRB, and can independently take any case for further investigation.
While OPA will separately report out on its intakes, investigations, and determinations for 2019,
a breakdown of FRU/FRB OPA referrals is presented in Table 18. It should be noted that the
numbers reported below refer only to referrals made by the FRB or FRU – they do not include
OPA referrals from the reviewing chain of command, subjects, or by third-party complainants.

Table 18: OPA Referrals
                          FRB                      FRU                      Total
 ICV                      0                        0                        0
 Use of Force             5                        2                        7
 Other                    13                       6                        19
 Total                    18                       8                        26

As shown, a total of 26 OPA referrals were made, seven of which were related to potential
violations of the use of force policy (which includes de-escalation). None related to a violation of
the ICV policy; an additional 19 related to other, non-force-related policies.


       d. On-Scene Supervision

FRU and FRB consider as part of their reviews whether an SPD supervisor (Sergeant or above)
was on-scene prior to the use of force, and if so, whether the supervisor provided appropriate
tactical guidance and support during the incident. If a supervisor was not on-scene during the
incident but responded thereafter, the FRU and FRB consider whether there were any issues
with the on-scene portion of the use of force investigation. A breakdown of FRU/FRB findings
relating to on-scene supervision is presented in Table 19.

Table 19: On-Scene Supervision
                       FRB                         FRU                      Total
 Approved              187                         52                       239
 Not Approved          6                           2                        8
 Deferred              3                           0                        3
 Total                 196                         54                       250
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Of the 193 instances in which a case reviewed by the FRB involved an on-scene supervisor present
and able to offer tactical guidance and support, the FRB approved the supervision in 187
instances (96.9%); in three instances, the determination was deferred pending review by another
unit or OPA. The FRU approved the on-scene supervision in 52 of the 54 applicable cases it
reviewed.

       e. Use of Force Investigations and Chain of Command Reviews

In addition to considering matters relating to the use of force incident itself, the FRB and FRU
consider the timeliness and thoroughness of FIT and chain of command investigations and
reviews, including whether FIT or the chain of command appropriately identified and addressed
any deficiencies in training, performance, equipment, or policy issues. A breakdown of FRU/FRB
findings relating to FIT and chain of command investigations and reviews is presented in Table
20.

Table 20: FIT/Chain of Command Reviews
                         FRB                      FRU                     Total
 Approved                382                      190                     572
 Not Approved            3                        1                       4
 Deferred                4                        0                       4
 Total                   389                      191                     580

In the 100 cases considered by the FRB, the FRB approved the FIT/Chain of Command
investigation and review in 382 of 385 instances, and disapproved the investigation or review in
3 instances. Four reviews were deferred pending review by another unit or OPA. Of the 48 cases
reviewed by the FRU, the FRU approved the chain of command investigation and review in 190
of the 191 instances considered.

       f. Type 1 Case Reviews

The FRU is also responsible for conducting quality assurance of each Type I use of force report to
determine completeness, timeliness, and accuracy of data entered in the field. The FRU also
reviews the chain of command’s review of the incident; if any deficiencies are noted, the reviews
are returned to the chain of command for additional work.

In 2019 the FRU processed 454 Type I cases involving a total of 722 officers, broken down as
follows:

   •   16% involved the reporting of Handcuffing Pain Only (117)
   •   30% involved the reporting of Officers pointing their firearm at a Person (217)
   •   42% involved the reporting Complaint of Pain Only (306)
   •   6% involved the reporting of Using Multiple Types of Type I force (45)


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   •    5% involved the reporting of Deploying an NFDD (not at a person) by SWAT (34)
   •    0.3% involved the reporting of Hobble Only (2)
   •    0.1% involved the reporting of Stop Sticks (1)


                                 ADDITIONAL LINKS
The Department remains committed to providing the public with as much transparency and
accessibility into its data as it can within the bounds of the privacy interests of the community
we serve. Additional information queries can be explored relating to stops and detentions, use
of force, crisis responses, and crime statistics at http://www.seattle.gov/police/information-and-
data.

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